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                                                                              IN THE UNITED STATES DISTRICT COURT
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                                           9                            FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                          10
For the Northern District of California




                                          11   DANIEL LEVIN, ET AL.,                                 No. 3:14-cv-03352-CRB
    United States District Court




                                          12                    Plaintiffs,                          ORDER RE LIMITED REMAND
                                                                                                     FOLLOWING INDICATIVE RULING
                                          13        v.
                                          14   CITY AND COUNTY OF SAN FRANCISCO,
                                          15                    Defendant.
                                                                                           /
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                                          17             This matter comes before the Court on limited remand from the Ninth Circuit. See

                                          18   Attachment A to the Nov. 11 Letter from Christine Van Aken (dkt. 125) (“This matter is

                                          19   remanded to the district court on a limited basis to permit the district court to consider the

                                          20   pending Federal Rule of Appellate Procedure 60(b) motion.”). This Court stated in its prior

                                          21   Indicative Ruling Order that:

                                          22             If the Ninth Circuit authorizes a limited remand for this purpose, the Court will clarify
                                                         under Rule 60(b) that its October 21, 2014 order and judgment enjoined enforcement
                                          23             of “San Francisco Ordinance No. 54-14, S.F. Admin. Code § 37.9A(e)(3)(E), insofar
                                                         as it requires the payment of the ‘Rental Payment Differential,”’ see Judgment (dkt.
                                          24             93), and did not pass on the enforceability of the later enacted San Francisco
                                                         Ordinance No. 68-15, see Memorandum of Findings of Fact and Conclusions of Law
                                          25             (dkt. 92).

                                          26   See Order Re CCSF’s Motion for an Indicative Ruling (dkt. 124).

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                                           1   The Court now enters the foregoing clarification under Rule 60(b).
                                           2          IT IS SO ORDERED.
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                                           4   Dated: January 6, 2016
                                                                                                  CHARLES R. BREYER
                                           5                                                      UNITED STATES DISTRICT JUDGE
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For the Northern District of California




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    United States District Court




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